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Exhibit /
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         IN THE UNITED STATES DISTRICT COURT
             FOR THE DISTRICT OF MONTANA
                  BILLINGS DIVISION
 _________________________________________________
   TRACY CAEKAERT, and                  Case No.
   CAMILLIA MAPLEY,                     CV-20-52-BLG-SPW
             Plaintiffs,
      vs.
   WATCHTOWER BIBLE AND
   TRACT SOCIETY OF
   NEW YORK, INC., et al,
             Defendants,
   ARIANE ROWLAND, and                  30(b)(6) DEPOSITION
   JAMIE SCHULZE,                       UPON ORAL EXAMINATION
                                        OF WILLIAM HASCH AND
             Plaintiff,                 RUSTIN HALEY
      vs.
   WATCHTOWER BIBLE AND
   TRACT SOCIETY OF
   NEW YORK, INC., et al,               Case No.
                                        CV-20-59-BLG-SPW
          Defendants.
 _________________________________________________

          BE IT REMEMBERED, that the 30(b)(6)
 deposition upon oral examination of WILLIAM HASCH
 and RUSTIN HALEY, appearing at the instance of the
 Plaintiffs, was taken at the offices of Fisher
 Court Reporting, 2711 1st Avenue North, Billings,
 Montana, on, Wednesday, January 10, 2024, beginning
 at the hour of 9:09 a.m., pursuant to the Federal
 Rules of Civil Procedure, before Barbara J. McLean,
 Registered Merit Reporter, Certified Realtime
 Reporter, and Notary Public.

                           * * * * * * *




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                       William Hasch and Rustin Haley 30(b)(6)


 1         Q.     And within the contours of your

 2    preparation, your answer is that you don't know

 3    about the document -- the documents that are not

 4    present from that '72 to '93 time period?

 5         A.     Yes, that's correct.

 6         Q.     Let's go to -- on Exhibit 19, let's go to

 7    page 7, topic 23.        "The practices, policies, and

 8    procedures in place at the Hardin Congregation from

 9    1973 to the present when receiving a complaint

10    regarding or related to child sexual abuse..."

11    Okay.     I'm going to stop there.           And there's more

12    to the question.

13                So it's three things:           "The practices,

14    policies, and procedures at Hardin from '73 to the

15    present when receiving a complaint regarding or

16    related to child sex abuse."             [As read.]

17         A.     To immediately call the legal department

18    at the branch.

19         Q.     And how was that -- how was that directive

20    or policy or procedure communicated?

21         A.     I think from a letter or from the circuit

22    overseer.     We were told directly.            It might have

23    been in one of those classes, too, but it was known

24    that you call the legal department.

25         Q.     And when you say a letter, who would that
                                                                         146

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                       William Hasch and Rustin Haley 30(b)(6)


 1    letter have come from?

 2         A.    Probably from the branch.              It would be a

 3    to "All Bodies of Elders" letter.

 4         Q.    So from 1973 to the present, that policy

 5    has not changed.

 6         A.    I don't know.        That's the policy that's

 7    been in effect since I've been an Elder.                   And so I

 8    don't know -- I don't know what the policy was in

 9    1973 to '93, '94, whatever it is.

10         Q.    Okay.     And just to be very clear, on 23,

11    you're answering on behalf of the Hardin

12    Congregation.      And the question is from '73 to the

13    present.

14         A.    Uh-huh.

15         Q.    So what period of time do you know, are

16    you testifying to?

17         A.    Well, from 1973 to present, it has

18    probably changed a little bit, just like most

19    things have changed in that period of time.

20               If a complaint regarding sexual abuse

21    would be brought up, it would be brought up to the

22    branch as far as I know.

23         Q.    And specifically any department within the

24    branch?

25         A.    It would be with our legal department,
                                                                            147

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